
"Plainitff-Petitiner's Pro Se Petition for Writ of Mandamus/ and or Declaratory Ruling and Pro Se Amended Petition for Writ of Mandamus and/or Declaratory Ruling are denied pursuant to Rule 34 of the North Carolina Rules of Appellate Procedure as a frivolous filing. Plaintiff-Petitioner is no longer allowed to file pro se in this civil matter before the Court. Any future filing in this matter by Plaintiff-Petitioner which is not accompanied by a certification signed by a licensed North Carolina attorney, who is in good standing with the North Carolina State Bar, verifying Plaintiff-Petitioner's claims are of merit and not frivolous, will not be processed.
Furthermore, pursuant to Rule 34, we remand this matter to Rockingham County for a hearing to determine sanctions, if appropriate. by order of the Court in Conference this the 0th day of *bad date* 0.
